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           IN THE UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF VIRGINIA
                         Alexandria Virginia

 UNITED STATES OF AMERICA

               v.
                                            Criminal No. 1:18 CR 83
 PAUL J. MANAFORT, Jr.,
                                           The Honorable T.S. Ellis, III


                           Defendant.


               STIPULATION REGARDING 2012 LAND ROVER
                       PURCHASES AND LEASE·

      The pa1·ties stipulate to the following facts:

   1. On April 11, 2012, Paul and Andrea Manafort purchased a 2012 Land Rover

Range Rover from Don Beyer Motors, Inc., also known as Land Rover of Alexandria

   2. As part of the payment for that vehicle, on April 12, 2012, a wire transfer

from Lucicle Consultants Limited in the amount of $83,525.00 drawn on a bank

account at Marfin Laiki Bank in Nicosia, Cyprus was·sent to Don Beyer Motors, Inc.

   3. On April 25, 2012, Paul and Kathleen Manafort leased a 2012 Land Rover

Range Rover.

   4. As the down-payme nt for that vehicle, on May 2, 2012, a wire transfer from

Lucicle Consulta nts Limited in the amount of $12,525.00 drawn on a bank account

at Marfin Laiki Bank in Nicosia, Cyprus was sent to Don Beyer Motors, Inc.

   5. On June 28, 2012, Paul and Kathleen Manafort, using company John

Hannah, LLC, purchased a 2012 Land Rover Range Rover.
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      6. As part of the payment for that vehicle, on June 29, 2012, a wire transfer

 from Lucicle Consultants Limited in the amount of $67,655.00 drawn on a bank

 account at Marfin Laiki Bank in Nicosia, Cyprus was sent to Don Beyer Motors, Inc.

      7. The records attached to this stipulation as Exhibits A through C are records

 of Don Beyer Motors, Inc. and constitute records of a regularly conducted business

 activity pursuant to Rule 803(6) of the Federal Rules of Evidence, without requiring

 further authentication; certification, witness testimony, or the testimony of a

 custodian of records.

            a. Exhibit A is a copy of documents reflecting the purchase of the 2012

               Land Rover Range Rover on April 11, 2012.

            b. Exhibit Bis a copy of documents reflecting the April 25, 2012, lease of

               the 2012 Land Rover.

            c. Exhibit C is a copy of documents reflecting the purchase of the 2012

               Land Rover Range Rover on June 28, 2012.



                                          We ask for this:

        Paul J . Manafort, Jr.,           ROBERT S. MUELLER, III
        Defendant                         Special Counsel



By:                                 By:
        Kevin Down·                       Andrew Weis
        Tom Zehnle, sq.                   Greg D. Anck
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